       Case 1:21-cv-00400-APM Document 127 Filed 10/17/24 Page 1 of 2



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                                          October 17, 2024

Via ECF
The Hon. Amit P. Mehta,
United States District Judge
United States District Court for the District
of Columbia

      Re: Lee v. Trump, Case No. 21-cv-00400 (APM)

Dear Judge Mehta,

       In accordance with the Court’s directive requiring informal submissions
regarding discovery matters, we write to request reconsideration of the Court’s
October 16, 2024, ruling regarding interrogatories (Dkt. No. 126). As a result of that
directive, that discovery issue was informally briefed in the context of a status report
and therefore was decided on a less complete record than would normally have been
before the Court on such a dispute. As a result, the Court would appear to have
premised its decision on an incorrect factual assumption.

      Specifically, the Court stated that “had Defendant raised his objection sooner,
Plaintiffs could have sought leave for more interrogatories or tailored their
interrogatories to the most important denials, or both. It would be unfair to cut off
discovery at a time of Defendant’s choosing.” Dkt. 126 at p. 1. Notably, however,
Plaintiffs did not suggest in their portion of the status report that President Trump
had only recently raised this objection. Nor could they have done so. If they had
made such a suggestion, President Trump would have shown that he first raised this
objection on May 31, 2024, in his initial response to Plaintiff’s first interrogatory:

      Although phrased as a single request, Interrogatory 1 “contains
      potentially [78] interrogatories since each denied [or qualified] request
      for admission, by necessity, raises a line of inquiry that is distinct from
      its predecessor.” Miller v. Holzmann, 240 F.R.D. 1, 3 (D.D.C. 2006). As

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         Case 1:21-cv-00400-APM Document 127 Filed 10/17/24 Page 2 of 2

Lee v. Trump,
Case No. 21-cv-00400 (APM)
Page 2



        President Trump has denied or qualified 21 requests for admission, each
        “subpart must be considered a separate interrogatory,” counting against
        plaintiffs’ applicable limits. Id.; see also Deutsch v. Arrow Fin. Servs., LLC,
        No. 8:08-CV-1469-T-17MAP, 2009 WL 10670785, at *3 (M.D. Fla. May
        1, 2009) (“An interrogatory that asks for an explanation for each denial
        of a request for admission generally does not count only as a single
        interrogatory, but rather counts as multiple interrogatories for purposes
        of the numerical limit contained in Fed. R. Civ. P. 33(a).”).

      President Trump then reiterated this objection multiple times. Thus, Plaintiffs
have been on notice of President Trump’s objection on this ground since May 31,
2024, and had months “to seek leave for more interrogatories or to tailor their
interrogatories to the most important denials, or both.” They chose to do neither,
instead continuing to insist that President Trump provide answers to their initial
RFA-related interrogatories, while also continuing to propound additional RFAs
(350 to date).

       In short, President Trump did not sandbag Plaintiffs. To the contrary, he went
above and beyond to cooperate with their discovery demands, taking on the burden
of answering 92 interrogatories—71 of them after Plaintiffs had been expressly put on
notice of his position with regard to this issue. Now he is effectively being penalized
for his cooperation.

      We respectfully submit that the Court should reconsider its Order and relieve
President Trump of any obligation to respond to additional interrogatories.

                                                      Respectfully submitted,




                                                      David A. Warrington

cc:     All counsel of record via ECF

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